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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BRIAN TOOTLE, )
Plaintiff, )
) C.A. No. 20-235 Erie

)

v. ) District Judge Susan Paradise Baxter

) Magistrate Judge Richard A. Lanzillo
CORRECTIONAL OFFICER LONG, )
Defendant. )

MEMORANDUM ORDER

Plaintiff Brian Tootle, an inmate incarcerated at the State Correctional Institution at
Forest in Marienville, Pennsylvania (“SCI-Forest”), initiated this pro se civil rights action on
August 13, 2020, against Defendant Correctional Officer Long. This matter was referred to
United States Magistrate Judge Richard A. Lanzillo for report and recommendation in
accordance with the Magistrates Act, 28 U.S.C. § 636(b)(1), and Rules 72.1.3 and 72.1.4 of the
Local Rules for Magistrates. The case was subsequently reassigned to the undersigned, as
presiding. judge, on December 28, 2020, with Judge Lanzillo remaining as the referred a
Magistrate Judge for all pretrial proceedings.

In his pro se complaint, Plaintiff alleges that Defendant confiscated his religious
materials and denied him access to those materials while he was in the Restricted Housing Unit
(“RHU”) in violation of his rights under the Free Exercise Clause of the first amendment to the
United States Constitution and the Religious Land Use and Institutionalized Persons Act of 2000
(“RLUIPA”). On December 28, 2020, Defendant filed a motion to dismiss [ECF No. 21],
arguing that Plaintiff's complaint fails to state a claim upon which relief can be granted.

“On July 19, 2021, Magistrate Judge Lanzillo issued a report and recommendation
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(“R&R”) recommending that Defendant’s motion to dismiss be granted as to Plaintiff s RLUIPA
claim to the extent such claim is brought against Defendant in his individual capacity and for
monetary damages; however, it is recommended that Plaintiff be allowed to amend his complaint
to assert his RLUIPA claim against Defendant in his official capacity and for injunctive and/or
declaratory relief only. The R&R recommends further that Defendant’s motion to dismiss be
denied in all other respects [ECF No. 26]. The time for filing objections to the R&R expired on
August 5, 2021, and no objections have been received from either party.

Thus, after de novo review of the complaint, Defendants’ motion to dismiss, and
Plaintiff's opposition thereto, together with the report and recommendation filed in this case, the
following order is entered:

AND NOW, this 13 day of August, 2021:

IT IS HEREBY ORDERED that Defendant’s motion to dismiss [ECF No. 21] is
granted in part and denied in part, as follows: Defendant’s motion is GRANTED as to Plaintiff's
RLUIPA claim against Defendant in his individual capacity and to the extent it seeks monetary
damages, but the motion is DENIED in all other respects.

IT IS FURTHER ORDERED that Plaintiff is granted the right to amend his complaint
to reassert his RLUIPA claim against Defendant in his official capacity and for injunctive and/or
declaratory relief only. Plaintiff shall file such amendment, if he so desires, within thirty (30)
days of the date of this Order. If Plaintiff fails to file an amended complaint within such time,
Plaintiff's RLUIPA claim will be considered dismissed in its entirety, with prejudice. The report

and recommendation of Magistrate Judge Lanzillo, issued July 19, 2021 [ECF No. 26], is
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adopted as the opinion of the Court.

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SUSAN PARADISE BAXTER
United States District Judge

cc: The Honorable Richard A. Lanzillo
United States Magistrate Judge
